


RODRIGUEZ V. STATE



NO.  07-07-0104-CR


					        07-07-0105-CR

					        07-07-0106-CR

					        07-07-0107-CR

					        07-07-0108-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



MAY 23, 2007


______________________________



ALFONSO DEMETRIO RODRIGUEZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 251ST DISTRICT COURT OF RANDALL COUNTY;



NOS. 17772-C, 17773-C, 17774-C, 17829-C, 18159-C;



HONORABLE DAVID GLEASON, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ORDER ON ABATEMENT AND REMAND


	Appellant Alfonso Demetrio Rodriguez filed a pro se notice of appeal from five
separate judgments convicting him of abandoning a child, kidnapping, unauthorized use
of a motor vehicle, assault on a public servant, and criminal mischief.  The clerk's record
has been filed, and reflects that appellant had appointed counsel at trial.  On May 11,
2007, appellant filed a letter with this court indicating he has not yet been appointed
counsel to assist with his appeal. 

	Accordingly, we now abate this appeal and remand the causes to the 251st District
Court of Randall County for further proceedings.  Upon remand, the trial court shall utilize
whatever means necessary to determine the following:

	1.	whether appellant desires to prosecute the appeal; 

	2.	whether appellant is indigent; and

	3.	whether the appellant is entitled to appointed counsel.

	Should it be determined appellant wishes to prosecute the appeal, is indigent, and
is entitled to an appointed attorney, the trial court shall appoint counsel.  If counsel is
appointed, the name, address, telephone number, and state bar number of said counsel
shall be included in an order appointing counsel.  If necessary, the trial court shall issue
findings of fact, conclusions of law, and any necessary orders it may enter regarding the
aforementioned issues and cause its findings, conclusions, and orders to be included in
a supplemental clerk's record.  A supplemental record of the hearing, if any, shall also be
prepared.  The supplemental clerk's record and supplemental reporter's record, if any, shall
be filed with the Clerk of this Court on or before June 22, 2007.

	It is so ordered.

							Per Curiam

Do not publish.



No motion for rehearing will be entertained and our mandate will issue
forthwith.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Do not publish.


